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 8                                         UNITED STATES DISTRICT COURT

 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                         No. 1:12-CR-00035-DAD-BAM

12                          Plaintiff,                  ORDER FOR FORFEITURE MONEY
                                                        JUDGMENT
13            v.

14    BONNIE LYNN RECINOS
      aka Bonnie Farr,
15
                            Defendant.
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18            Based upon the United States’ Application for Forfeiture Money Judgment and the plea

19    agreement entered into between plaintiff United States of America and defendant Bonnie Lynn

20    Recinos,

21            IT IS HEREBY ORDERED that

22            1.       The defendant Bonnie Lynn Recinos shall forfeit to the United States the sum of

23    $1,784,025.03 and that the Court imposes a personal forfeiture money judgment against

24    defendant in that amount.

25            2.       Any funds applied towards such judgment shall be forfeited to the United States of

26    America and disposed of as provided for by law. Prior to the imposition of sentence, any funds

27    delivered to the United States to satisfy the personal money judgment shall be seized and held by

28    the United States Marshals Service, in its secure custody and control.
     ORDER FOR FORFEITURE MONEY JUDGMENT                1
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 1             3.      This Order of Forfeiture shall become final as to the defendant at the time of

 2    sentencing and shall be made part of the sentence and included in the judgment.

 3             4.      The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

 4    Order of Forfeiture to substitute property having a value not to exceed $1,784,025.03 to satisfy

 5    the money judgment in whole or in part.

 6    IT IS SO ORDERED.
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      Dated:        October 4, 2016
 8                                                           UNITED STATES DISTRICT JUDGE

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     ORDER FOR FORFEITURE MONEY JUDGMENT                 2
